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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



 LIFENET, INC.,

                    Plaintiff,

          v.                                          No. 6:22-cv-00162-JDK

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


               STIPULATION TO WAIVE DEFENDANTS’ OBLIGATION
                       TO RESPOND TO THE COMPLAINT

       The parties respectfully stipulate to waive the Defendants’ obligation to answer or otherwise

respond to the complaint in this action. An answer to the complaint, or a motion in response to the

complaint, would be due to be filed on or before July 5, 2022. The parties agree that no answer or

responsive motion is necessary in this Administrative Procedure Act matter, since all of the relevant

issues have been briefed and joined in the motions that have already been filed with the Court.

       There are two sets of fully-briefed motions pending as of June 14, 2022:

       1. The Plaintiff’s motion for summary judgment, and the Defendants’ cross-motion for

           summary judgment or, in the alternative, for jurisdictional discovery. See ECF No. 27,

           ECF No. 31, ECF No. 32, ECF No. 36; and

       2. The Defendant’s motion to transfer. See ECF No. 22, ECF No. 26, ECF No. 28.

       WHEREFORE, the parties respectfully stipulate to waive the Defendants’ obligation to

answer or otherwise respond to the complaint in this action, and request that the Court enter the

attached proposed order.



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Dated: July 1, 2022                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 1st day of July, 2022, a true and correct copy of this document was
served electronically by the Court’s CM/ECF system to all counsel of record.


                                              /s/ Joel McElvain
                                              JOEL McELVAIN




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